                        IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA
___________________________________
                                        :
EUGENE SCALIA, Secretary of Labor,      :
United States Department of Labor,      :         CIVIL ACTION
               Plaintiff,               :         Case No. 2:21-cv-00096-GAM
                                        :
v.                                      :
                                        :
LOCAL 98, INTERNATIONAL                 :
BROTHERHOOD OF ELECTRICAL               :
WORKERS,                                :
               Defendant.               :
___________________________________ :

                 STIPULATION FOR EXTENSION OF TIME
      TO ANSWER, MOVE, OR OTHERWISE RESPOND TO THE COMPLAINT

       Subject to the consent of Court, and pursuant to Local Rule 7.4, Plaintiff Eugene Scalia

and Defendant Local 98, International Brotherhood of Electrical Workers stipulate that

Defendant’s time to answer, move, or otherwise respond to the Complaint is extended to on or

before February 12, 2021.


                                              CLEARY, JOSEM & TRIGIANI LLP

/s/ Lauren DeBruicker                         /s/William T. Josem
Lauren DeBruicker                             William T. Josem, Esquire
Assistant United States Attorney              325 Chestnut Street, Suite 200
615 Chestnut Street, Suite 1250               Philadelphia, PA 19106
Philadelphia, PA 19102

Counsel to Plaintiff Eugene Scalia            Counsel to Defendant IBEW Local 98



IT IS SO ORDERED this        20th    day of     January     , 2021.


  /s/ Gerald Austin McHugh
United States District Judge
